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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                   Northern District
                                                __________  District of
                                                                     of Georgia
                                                                        __________

                       JOSHUA WINER                             )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 1:25-CV-2329
                                                                )
                                                                )
                     MOHAMMAD et al.,                           )
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                      CAIR-NGA, INC. (A/K/A/ CAIR-Georgia)
                                      Christopher Burke
                                      Registered Agent
                                      2555 Ingram Road
                                      Duluth, GA 30096

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: David F. Katz
                                      Weissmann Zucker Euster + Katz P.C.
                                      The Fountains at Piedmont Center
                                      Building 11, Suite 950
                                      3495 Piedmont Road
                                      Atlanta, Georgia 30305
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                            KEVIN P. WEIMER
                                                                            CLERK OF COURT


Date:     5/8/2025                                                          s/Traci Clements Campbell
                                                                                      Signature of Clerk or Deputy Clerk
